           Case 20-71612-lrc       Doc 16 Filed 01/07/21 Entered 01/07/21 16:08:16                    Desc
                                      Failure to Appear Page 1 of 1

                                   UNITED STATES BANKRUPTCY COURT

                                           Northern District of Georgia


In    Debtor(s)
Re:   Eric Undra Clark                                     Case No.: 20−71612−lrc
      1747 Avon Ave                                        Chapter: 7
      Atlanta, GA 30311                                    Judge: Lisa Ritchey Craig

      xxx−xx−9495




                               ORDER OF DISMISSAL FOR FAILURE TO
                           APPEAR AT SECTION 341 MEETING OF CREDITORS



      Whereas the debtor has failed to attend the meeting of creditors pursuant to 11 U.S.C. Section 341; and after
consideration and for good cause shown,

IT IS HEREBY ORDERED that:

      1. The above−styled case is dismissed; and,

      2. Any unpaid filing fees are due payable by the Debtor(s) to the Clerk of Court immediately.

IT IS FURTHER ORDERED that a copy of this order be mailed to the Debtor(s), the attorney for the Debtor(s), the
Trustee, the United States Trustee, all creditors and other parties in interest.




                                                           Lisa Ritchey Craig
                                                           United States Bankruptcy Judge


Dated: January 7, 2021
Form 185
